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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


APRIL GRACE f/k/a APRIL GOWDY,

        Plaintiff,

v.                                                  CASE NO. 3:15-cv-1496-J-25PDB

NAVIENT SOLUTIONS, INC.

     Defendant.
________________________________/

                                           ORDER

        Pursuant to the parties’ Stipulation (Dkt. 11), it is

        ORDERED that this action is DISMISSED with prejudice. The Clerk is directed

to close this case.

        DONE AND ORDERED at Jacksonville, Florida, this 6th day of May,

2016.




Copies to: Counsel of Record
